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 1                                                      The Honorable John C. Coughenour

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 7                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF WASHINGTON
 8                                    AT SEATTLE
 9   BERNADEAN RITTMANN, et al.,
                                               Consolidated Action
10                                             2:16-cv-01554-JCC
                     Plaintiffs,
11                                             DECLARATION OF JAMES P. WALSH,
     v.                                        JR. IN SUPPORT OF DEFENDANTS’
12                                             RESPONSE TO MOTIONS TO
     AMAZON.COM, INC., et al.,                 INTERVENE
13
                     Defendants.               NOTES ON MOTION CALENDAR:
14                                             November 15, 2024 (Dkt. 356) and
                                               November 22, 2024 (Dkt. 361)
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     DECLARATION OF JAMES P. WALSH, JR. IN                    MORGAN, LEWIS & BOCKIUS LLP
     SUPPORT OF DEFENDANTS’ RESPONSE TO                                   ATTORNEYS AT LAW
                                                                   1301 SECOND AVENUE, SUITE 3000
     MOTIONS TO INTERVENE – Page - 1 -                               SEATTLE, WASHINGTON 98101
     (Case No. C16-1554 JCC)                                    TEL +1.206.274.6400 FAX +1.206.274.6401
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 1           I, James P. Walsh, Jr., declare under penalty of perjury and pursuant to 28 U.S.C. § 1746,

 2   that the following facts are true and correct:

 3           1.      I am Senior Counsel at Morgan, Lewis & Bockius LLP. I represent Defendants in

 4   this lawsuit.

 5           2.      Kevin Estrada, who opted into this case on November 25, 2019 represented by

 6   Plaintiffs’ counsel (Dkt. 152-1 at 1), has also filed an Arbitration Demand against Amazon alleging

 7   independent contractor misclassification.

 8           3.      Mr. Estrada filed his Demand for Arbitration through different counsel and under

 9   the name Kevin Ruiz.

10           4.      A true and correct copy of the Ruiz Demand for Arbitration is attached hereto as

11   Exhibit 1.

12           5.      In the Ruiz arbitration, Mr. Estrada produced documents including the “Kevin

13   Estrada” name. A true and correct copy of an example of such documents is attached hereto as

14   Exhibit 2. Mr. Estrada’s counsel in the Ruiz arbitration also produced the phone number for

15   “Kevin Ruiz,” which is the same phone number for Opt-In Plaintiff Kevin Estrada.

16           I declare under penalty of perjury of the laws of the United States that the foregoing is true

17   and correct.
18           Executed on November 12, 2024, in Princeton, New Jersey.

19

20                                                          s/ James Walsh
                                                            James P. Walsh, Jr.
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26
     DECLARATION OF JAMES P. WALSH, JR. IN                                  MORGAN, LEWIS & BOCKIUS LLP
     SUPPORT OF DEFENDANTS’ RESPONSE TO                                                 ATTORNEYS AT LAW
                                                                                 1301 SECOND AVENUE, SUITE 3000
     MOTIONS TO INTERVENE– Page 2                                                  SEATTLE, WASHINGTON 98101
     (Case No. C16-1554 JCC)                                                  TEL +1.206.274.6400 FAX +1.206.274.6401
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             Exhibit 1
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            Exhibit 2
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From: kevin Alejandro <      REDACTED                       >
Date: Wed, Nov 1, 2023, 2:00 AM
Subject: Fw: Payment Problems:Kevin Estrada
To: Kevin Estrada <     REDACTED        >




Sent from Yahoo Mail on Android


   — Forwarded Message —
   From: "kevin Alejandro" <      REDACTED    >
   To: "amazonflex-support@amazon.com " <amazonflex-support@amazon.com>
   Sent: Mon, Mar 23, 2020 at 12:01 PM
   Subject: Payment Problems:Kevin Estrada
   Hello,

   Thank you for contacting Amazon Flex Support. In order to resolve your concern as quickly as possible, please
   fill out the information below.

   Date of block: March 21 2020
   Time of block:5:15 to 8:15
   Describe your question or concern here:

   Hi guy from support I was wondering if you can adjust my block from this day I called phone support to ask
   permission to continue and they agree I finished around 8:39pm the reason I took a little longer is because I have
   many stops for residential apartments with deliveries going to lockers what it takes a little more time to
   accomplished thank you very much
   You may expect a reply via email within the next few days.

   Thank you,

   Amazon Flex Support

   Sent from Yahoo Mail on Android




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